B18 (Official Form 18) (12/07)

                                    United States Bankruptcy Court
                                                   District of Arizona
                                             Case No. 2:12−bk−09936−SSC
                                                       Chapter 7

In re Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   DARRIN M STOCK
   9108 WEST CALLE LEJOS
   PEORIA, AZ 85383
Social Security / Individual Taxpayer ID No.:
   xxx−xx−0747
Employer Tax ID / Other nos.:



                                           DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).



                                                            BY THE COURT

Dated: 8/20/12                                              Sarah Sharer Curley
                                                            United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




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                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts That are Not Discharged

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes;

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans.



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.




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                                                United States Bankruptcy Court
                                                     District of Arizona
 In re:                                                                                                     Case No. 12-09936-SSC
 DARRIN M STOCK                                                                                             Chapter 7
          Debtor
                                                  CERTIFICATE OF NOTICE
 District/off: 0970-2                  User: admin                        Page 1 of 2                          Date Rcvd: Aug 20, 2012
                                       Form ID: b18                       Total Noticed: 14


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Aug 22, 2012.
 db            +DARRIN M STOCK,   9108 WEST CALLE LEJOS,    PEORIA, AZ 85383-1132
 11366230      +AURORA BEHAVIORAL HEALTH SYSTEMS,   6015 W. PEORIA AVE.,     GLENDALE AZ 85302-1213
 11366231      +BANNER HEALTH,   PETER FINE, PRESIDENT,    1441 N. 12TH ST.,    PHOENIX AZ 85006-2837
 11366234      +CARPENTER, HAZLEWOOD, DELGADO & BOLEN PL,    1400 E. SOUTHERN AVE., SUITE 400,
                 TEMPE AZ 85282-5693
 11366237      +EMERGENCY PHYSICIAN PROFESSIONALS,   PO BOX 40850,    MESA AZ 85274-0850
 11366238       GEICO CASUALTY COMPANY,   ONE GEICO PLAZA,    WASHINGTON DC 20046-0001
 11366241      +NORTH VALLEY JUSTICE COURT,   CLERK OF THE COURT,    14264 W. TIERRA BUENA LANE,
                 SURPRISE AZ 85374-7419

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 tr            EDI: FAHMASON.COM Aug 21 2012 01:38:00      ANTHONY H. MASON,    P.O. BOX 4427,
                PHOENIX, AZ 85030-4427
 smg           EDI: AZDEPREV.COM Aug 21 2012 01:38:00      AZ DEPARTMENT OF REVENUE,    BANKRUPTCY & LITIGATION,
                1600 W. MONROE, 7TH FL.,    PHOENIX, AZ 85007-2650
 cr           +E-mail/PDF: ebnnotices@ascensioncapitalgroup.com Aug 21 2012 04:01:59
                Capital One Auto Finance Department,    c/o Ascension Capital Group,    P.O. Box 201347,
                Arlington, TX 76006-1347
 11366232     +EDI: CAPITALONE.COM Aug 21 2012 01:38:00      CAPITAL ONE,    PO BOX 30281,
                SALT LAKE CITY UT 84130-0281
 11366233      E-mail/Text: COAFINTERNALBKTEAM@CAPITALONEAUTO.COM Aug 21 2012 02:26:39
                CAPITAL ONE AUTO FINANCE,    P.O. BOX 93016,   LONG BEACH CA 90809-3016
 11366235     +EDI: CCS.COM Aug 21 2012 01:39:00      CCS COLLECTIONS,    2 WELLS AVE,
                NEWTON CENTER MA 02459-3246
 11366240     +EDI: GMACFS.COM Aug 21 2012 01:38:00      NATIONAL AUTO FINANCE,    17500 CHENAL PKWY ST,
                LITTLE ROCK AR 72223-9131
                                                                                               TOTAL: 7

               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 11366236         DOREEN J. STOCK
 11366239         INSPIRATION AT STETSON VALLEY CONDO
                                                                                                                     TOTALS: 2, * 0, ## 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Aug 22, 2012                                       Signature:



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                             Form ID: b18                Total Noticed: 14


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 20, 2012 at the address(es) listed below:
              ANTHONY H. MASON   ecfmason@earthlink.net, ahm@trustesolutions.com;am@trustesolutions.net
              MARTIN 1 CREAVEN   on behalf of Debtor DARRIN STOCK martinc@arizonalawcenter.com
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                            TOTAL: 3




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